                Case 4:21-mj-30390-DUTY ECF No. 1,Ann
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                                                                              Page 810.766.5177
                                                                                      1 of 6
                                                        Special Agent : Michael Wiggins                    Telephone: 810.239.5775
AO91(Rev.08/09)CriminalComplaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                  Eastern District of Michigan
 United States of America,                                                   Case: 4:21-mj-30390
                 Plaintiff,                                                  Judge: Unassigned
 v.                                                                          Filed: 08-10-2021 At 07:20 PM
Benjamin Hyun-Ki Fielder                                                     USA V SEALED (kcm)



                    Defendant(s).

                                                   CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief:

          On or about the date(s) of _____________________________________,
                                     August 9, 2021                             in the county of ___________________________
                                                                                                 Shiawassee
 in the __________________________
        Eastern                         District of _______________________,
                                                    Michigan                 the defendant(s) violated:

                   Code Section                                                    Offense Description
18 U.S.C. § 2422(b)                                                    Attempt enticement of a minor




          This criminal complaint is based on these facts:
Please see the attached affidavit.




  ✔        Continued on the attached sheet.

                                                                                               Complainant’s signature

                                                                                Michael Wiggins, Special Agent - FBI
                                                                                             Printed name and title

 Sworn to before me and signed in my presence.


 Date: __________________________
       August 10, 2021
                                                                                                  Judge’s signature

 City and state: _____________________________
                 Detroit, Michigan                                           Curtis Ivy, Jr., United States Magistrate Judge
                                                                                                  Printed name and title
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                     AFFIDAVIT IN SUPPORT OF
            AN APPLICATION FOR A CRIMINAL COMPLAINT
                      AND ARREST WARRANT

      I, Michael S. Wiggins, a Special Agent with the Federal Bureau of

Investigation, being duly sworn, depose and state as follows:

               INTRODUCTION AND AGENT BACKGROUND

      1.     I am an investigative or law enforcement officer of the United States

within the meaning of Section 2510(7) of Title 18 of the United States Code. I am

empowered to conduct investigations of and to make arrests for offenses enumerated

in Title 18 of the United States Code.

      2.     I am a Special Agent (SA) of the Federal Bureau of Investigation (FBI),

United States Department of Justice (DOJ), currently assigned to the FBI's Detroit

Division, Flint Resident Agency (FLRA). I have been so employed since March

2004. I am currently assigned as the Coordinator and a member of the Northeast

Michigan Trafficking and Exploitation Crimes Task Force (NEMTEC) which is a

Federal Bureau of Investigation (FBI) managed task force with investigative

members assigned from the Michigan State Police (MSP) and FBI. It is tasked with

addressing Crimes Against Children and Human Trafficking threats in coordination

and cooperation with its local and state partners.



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      3.     As part of my employment, I have received training in and been

involved in investigations regarding human trafficking, exploitation of children,

drug trafficking, money laundering, threats, financial crimes, crimes involving gang

related activities, child pornography and other violations of federal law.

      4.     I am conducting an investigation related to violations of the following

statutes: 18 U.S.C. § 2422(b) (attempt enticement of a minor). Based on the evidence

discovered during the course of my investigation, probable cause exists that

Benjamin Hyun-Ki Fielder (DOB XX/XX/1990) committed violations of the above

statute within the Eastern District of Michigan.

      5.     This Affidavit is submitted for the limited purpose of establishing

probable cause; this affidavit, therefore, may not include all the information

collected during this investigation. This Affidavit is intended to show only that there

is sufficient probable cause for the requested complaint and warrant and does not set

forth all of my knowledge about this matter. The information contained in this

affidavit is based on personal knowledge, on reports made to me by other law

enforcement officers, my training and experience, and the combined knowledge,

training, and experience of other law enforcement officers and agents with whom I

have had discussions.



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                              PROBABLE CAUSE

      6.     On August 9, 2021, while acting as an online covert employee (OCE),

I participated in online communications with an individual later determined to be

Benjamin Hyun-Ki Fielder. Using the persona of a 15-year-old girl, I posted a

bulletin message on Social Media Application-1. Based on my training and

experience, Social Media Application-1 is an application that is used by individuals

interested in engaging in sexual activity with children. The application allows users

to send text messages, audio messages, and images to each other using the internet,

amongst other functions. The bulletin message stated that I was bored and included

the image of a cartoon character.

      7.     Shortly after posting the bulletin message, an individual using the

profile name “alpha” sent me a private message. During the communications, the

individual requested to text with me, and provided me with a telephone number. The

individual also identified himself as “Ben.”

      8.     During the communications, I discussed my persona’s age with “Ben.”

I told “Ben” that I was 15 years old, and that some people get mad at my age. He

responded, “I’m not mad as long as you don’t mind.”

      9.     During a discussion about what “Ben” wanted to do with the persona,

he texted, “I am super horny and want to fuck lol... If you’re down for that … once
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we get more comfortable with each other.” “Ben” also asked, “You have any sexy

pics of you that you’re willing to send me??...” In response to the picture that I sent

him of my persona, “Ben” said “Mmmm cute …” and “You are so fucking sexy …”

        10.   Later, my persona stated that she did not want to be a pregnant 10th

grader, and “Ben” responded “Lol you won’t.” My persona then asked “Ben” for

assurance that she would not get pregnant when they had sex. “Ben” responded, “I

want you to be comfortable… And I don’t want us to get into trouble lol / And no

you won’t get preggo lol.” My persona asked if “Ben” still wanted to do it, and “Ben”

responded “Yea.”

        11.   During a telephone call, “Ben” also agreed to bring condoms and

alcohol.

        12.   Thereafter, “Ben” arrived at the location provided to him to meet with

my persona. He was arrested without incident. His identity was confirmed as

Benjamin Hyun-Ki Fielder. He was subsequently provided his Miranda rights and

interviewed. During the interview, Fielder admitted to traveling to the meet location

to engage in sexual activity with an individual he believed to be a fifteen-year-old

girl.




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        13.   At the time of his arrest, he was found to be in possession of condoms,

alcohol, and a cellular telephone. The telephone was determined to be a Samsung

S10+.

                                  CONCLUSION

        14.   Based on the aforementioned facts, there is probable cause to believe

that Benjamin Hyun-Ki Fielder violated 18 U.S.C. § 2422 (attempted enticement of

a minor) within the Eastern District of Michigan.




                                                    Michael S. Wiggins
                                                    Special Agent

        Sworn to before me and signed in my presence
        and/or by reliable electronic means on ________________.
                                                 August 10, 2021




        Hon. Curtis Ivy, Jr.
        United States Magistrate Judge




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